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                EXHIBIT B
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APG
FIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                           Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                            25.2292

   Transaction          Date         Shares            Price   Cost                  Transaction    Date        Shares         Price       Proceeds

               Pre-class holdings    4,671,233                                 Sale                10/28/2016    (21,400)       29.0957     ($622,647.98)
                                                                               Sale                 11/3/2016    (21,200)       28.1714     ($597,233.68)
                                                                               Sale                 11/4/2016    (21,200)       28.2479     ($598,855.48)
                                                                               Sale                 11/4/2016    (77,057)       28.2922   ($2,180,109.28)
                                                                               Sale                 11/4/2016   (106,143)       28.3111   ($3,005,029.40)
                                                                               Sale                 11/4/2016   (102,389)       28.2922   ($2,896,806.37)
                                                                               Sale                 11/4/2016   (141,037)       28.3111   ($3,992,918.33)
                                                                               Sale                 11/7/2016     (8,588)       29.1100     ($249,996.68)
                                                                               Sale                 11/7/2016   (158,964)       29.0318   ($4,615,007.42)
                                                                               Sale                 11/7/2016   (183,776)       29.0256   ($5,334,200.45)
                                                                               Sale                 11/7/2016    (11,412)       29.1100     ($332,203.32)
                                                                               Sale                 11/7/2016   (211,222)       29.0318   ($6,132,150.03)
                                                                               Sale                 11/7/2016   (244,191)       29.0256   ($7,087,779.38)
                                                                               Sale                 11/8/2016    (98,172)       28.7145   ($2,818,959.05)
                                                                               Sale                 11/8/2016   (122,841)       28.7791   ($3,535,249.84)
                                                                               Sale                 11/8/2016   (158,070)       28.7813   ($4,549,456.68)
                                                                               Sale                 11/8/2016   (130,445)       28.7145   ($3,745,661.84)
                                                                               Sale                 11/8/2016   (163,223)       28.7791   ($4,697,406.28)
                                                                               Sale                 11/8/2016   (210,035)       28.7813   ($6,045,075.82)
                                                                               Sale                11/11/2016     (1,400)       32.1650      ($45,031.00)
                                                                               Sale                11/14/2016     (1,400)       33.5141      ($46,919.74)
                                                                               Sale                 12/2/2016       (700)       34.5975      ($24,218.25)
                                                                               Sale                 12/6/2016    (12,979)       35.1942     ($456,785.69)
                                                                               Sale                 12/6/2016    (25,600)       35.2331     ($901,968.00)
                                                                               Sale                 12/6/2016    (37,600)       35.1048   ($1,319,939.84)
                                                                               Sale                 1/27/2017     (1,400)       36.5583      ($51,181.62)
                                                                               Sale                 1/30/2017    (32,300)       36.3402   ($1,173,788.40)
                                                                               Sale                 1/30/2017     (1,400)       36.3364      ($50,870.96)
                                                                               Sale                 1/31/2017    (13,900)       35.8892     ($498,859.88)
                                                                               Sale                  2/1/2017     (2,100)       36.1552      ($75,925.92)
                                                                               Sale                  2/2/2017     (2,100)       35.4538      ($74,452.98)
                                                                               Sale                  2/3/2017    (29,800)       36.3994   ($1,084,702.12)
                                                                               Sale                  2/3/2017     (7,400)       36.4171     ($269,486.43)
                                                                               Sale                  2/3/2017     (2,100)       36.3970      ($76,433.70)
                                                                               Sale                  2/6/2017    (39,400)       36.4108   ($1,434,583.75)

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APG
FIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                          Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                           25.2292

   Transaction          Date         Shares            Price   Cost                  Transaction   Date        Shares         Price       Proceeds

                                                                               Sale                 2/6/2017     (6,500)       36.4144     ($236,693.60)
                                                                               Sale                 2/7/2017     (1,400)       36.2446      ($50,742.44)
                                                                               Sale                 2/8/2017     (1,400)       35.5934      ($49,830.76)
                                                                               Sale                 2/9/2017     (1,400)       36.3261      ($50,856.54)
                                                                               Sale                2/10/2017     (1,400)       36.3925      ($50,949.50)
                                                                               Sale                2/15/2017     (2,000)       37.3251      ($74,650.20)
                                                                               Sale                2/16/2017     (2,000)       36.8535      ($73,707.00)
                                                                               Sale                2/17/2017     (2,000)       36.4767      ($72,953.40)
                                                                               Sale                2/23/2017     (2,000)       36.5620      ($73,124.00)
                                                                               Sale                2/24/2017     (2,000)       36.3030      ($72,606.00)
                                                                               Sale                2/27/2017     (2,000)       36.6234      ($73,246.80)
                                                                               Sale                2/28/2017    (18,900)       36.2400     ($684,936.00)
                                                                               Sale                 3/1/2017     (2,000)       36.9495      ($73,899.00)
                                                                               Sale                 3/8/2017     (2,000)       35.8461      ($71,692.20)
                                                                               Sale                3/15/2017     (8,300)       35.8756     ($297,767.48)
                                                                               Sale                3/16/2017     (1,900)       35.8513      ($68,117.47)
                                                                               Sale                3/17/2017     (8,500)       35.2606     ($299,715.10)
                                                                               Sale                3/20/2017     (8,500)       34.5442     ($293,625.70)
                                                                               Sale                3/21/2017     (1,300)       33.4184      ($43,443.92)
                                                                               Sale                3/22/2017    (17,400)       33.1413     ($576,658.62)
                                                                               Sale                3/23/2017    (17,400)       33.4993     ($582,887.82)
                                                                               Sale                3/24/2017     (4,200)       33.4011     ($140,284.62)
                                                                               Sale                3/28/2017    (41,700)       33.5390   ($1,398,576.30)
                                                                               Sale                3/30/2017    (34,100)       34.3376   ($1,170,910.73)
                                                                               Sale                 4/3/2017    (38,900)       33.7396   ($1,312,468.61)
                                                                               Sale                4/13/2017     (6,944)       32.6111     ($226,451.40)
                                                                               Sale                4/17/2017    (38,400)       32.7360   ($1,257,062.40)
                                                                               Sale                4/17/2017    (12,000)       32.7453     ($392,943.17)
                                                                               Sale                4/21/2017    (55,600)       33.4768   ($1,861,308.25)
                                                                               Sale                4/24/2017    (46,200)       33.8821   ($1,565,352.47)
                                                                               Sale                4/25/2017    (48,100)       33.8855   ($1,629,891.59)
                                                                               Sale                4/26/2017    (47,900)       33.3523   ($1,597,575.70)
                                                                               Sale                 5/2/2017    (36,500)       28.3992   ($1,036,569.08)
                                                                               Sale                 5/2/2017     (6,400)       28.4144     ($181,852.16)
                                                                               Sale                 5/3/2017     (9,200)       28.7517     ($264,515.64)

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APG
FIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                           Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                            25.2292

   Transaction          Date         Shares            Price   Cost                  Transaction    Date        Shares         Price        Proceeds

                                                                               Sale                  5/4/2017     (1,400)       28.6936       ($40,171.04)
                                                                               Sale                  5/5/2017     (1,400)       28.7021       ($40,182.94)
                                                                               Sale                  5/8/2017     (1,400)       28.4782       ($39,869.48)
                                                                               Sale                 5/17/2017     (1,600)       26.4919       ($42,387.04)
                                                                               Sale                 5/18/2017     (1,600)       26.6000       ($42,560.00)
                                                                               Sale                 5/19/2017     (1,600)       27.0744       ($43,319.04)
                                                                               Sale                 5/24/2017     (8,000)       26.8481      ($214,784.80)
                                                                               Sale                 5/24/2017    (45,075)       26.8434    ($1,209,966.26)
                                                                               Sale                 5/25/2017     (1,600)       27.0088       ($43,214.08)
                                                                               Sale                 5/26/2017     (1,600)       27.4100       ($43,856.00)
                                                                               Sale                 5/30/2017     (1,600)       27.1141       ($43,382.56)
                                                                               Sale                 5/31/2017    (38,800)       26.6055    ($1,032,293.40)
                                                                               Sale                  6/1/2017     (1,600)       27.1713       ($43,474.08)
                                                                               Sale                  6/1/2017   (330,830)       27.2066    ($9,000,759.48)
                                                                               Sale                  6/5/2017     (1,600)       27.7166       ($44,346.56)
                                                                               Sale                  6/6/2017     (1,600)       27.9744       ($44,759.04)
                                                                               Sale                  6/7/2017     (3,700)       28.8541      ($106,760.17)
                                                                               Sale                  6/7/2017    (19,313)       28.8589      ($557,351.94)
                                                                               Sale                  6/8/2017     (9,387)       28.9499      ($271,752.70)
                                                                               Sale                 6/19/2017   (169,300)       29.3418    ($4,967,566.74)
                                                                               Sale                  7/6/2017    (25,700)       29.5183      ($758,621.44)
                                                                               Sale                  7/6/2017    (25,700)       29.3689      ($754,780.93)
                                                                               Sale                 7/18/2017    (31,400)       29.3087      ($920,294.15)
                                                                               Sale                 7/18/2017    (15,700)       29.2957      ($459,942.16)
                                                                               Sale                 7/19/2017    (15,700)       29.5268      ($463,571.03)
                                                                               Sale                 8/31/2017     (4,903)       30.7730      ($150,879.96)
                                                                               Sale                  9/6/2017    (22,095)       30.0693      ($664,381.29)
                                                                               Sale                  9/7/2017    (21,841)       29.1773      ($637,261.97)
                                                                               Sale                10/10/2017    (21,800)       31.7938      ($693,104.77)
                                                                               Sale                10/26/2017    (16,923)       32.8431      ($555,804.47)
                                                                               Sale                10/31/2017    (11,600)       32.6200      ($378,392.00)
                                                                               Sale                 1/11/2018    (43,500)       39.5597    ($1,720,846.95)
                                                                               Sale                 1/22/2018    (56,300)       39.1364    ($2,203,380.11)
                                                                               Sale                 1/24/2018    (52,600)       39.7692    ($2,091,860.76)
                                                                               Sale                 1/31/2018   (330,100)       39.7045   ($13,106,457.04)

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APG
FIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                                          Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                                           25.2292

   Transaction          Date         Shares            Price     Cost                     Transaction           Date          Shares          Price         Proceeds

                                                                                        Sale                     2/27/2018      (62,300)       37.8529     ($2,358,238.50)
                                                                                        Sale                     2/27/2018       (4,300)       37.3900       ($160,777.00)
                                                                                        Sale                     4/19/2018     (125,800)       35.2721     ($4,437,230.18)
                                                                                        Sale                     4/24/2018      (31,100)       34.9455     ($1,086,805.05)
                                                                                        Sale                     5/10/2018      (27,200)       33.8540       ($920,828.80)
                                                                                        Sale                     5/15/2018      (18,800)       34.2887       ($644,627.56)
                                                                                        Sale                     5/31/2018      (88,800)       34.6300     ($3,075,144.00)
                                                                                        Sale                     6/20/2018       (5,800)       34.9397       ($202,650.26)
                                                                                        Sale                     7/18/2018      (28,878)       32.9910       ($952,714.10)
                                                                               Sales offsetting against pre-class holdings   (4,671,233)                 ($145,801,113.06)

Purchase              10/21/2016         1,076         28.1988    $30,341.91
Purchase              10/21/2016         4,596         28.1204   $129,241.36
Purchase              10/24/2016           644         28.8433    $18,575.08
Purchase              10/24/2016         2,888         28.8419    $83,295.40
Purchase              10/25/2016         4,526         28.5529   $129,230.43
Purchase              10/25/2016         3,014         28.5857    $86,157.30
Purchase              10/25/2016        21,400         28.5898   $611,821.72
Purchase              10/26/2016         1,437         28.6861    $41,221.92
Purchase              10/26/2016         2,012         28.7787    $57,902.75
Purchase              10/26/2016         1,802         28.6730    $51,668.75
Purchase              10/27/2016         4,936         28.9587   $142,940.15
Purchase              10/27/2016         1,186         28.9692    $34,357.47
Purchase              10/28/2016         4,193         29.1729   $122,321.97
Purchase              10/28/2016            35         29.2131     $1,022.46
Purchase              10/31/2016           558         28.9346    $16,145.50
Purchase              10/31/2016         4,145         28.9641   $120,056.20
Purchase               11/1/2016           182         28.6299     $5,210.65
Purchase               11/1/2016         1,783         28.6768    $51,130.74
Purchase               11/2/2016           476         28.5335    $13,581.95
Purchase               11/2/2016            72         28.5493     $2,055.55
Purchase               11/3/2016            70         28.1630     $1,971.41
Purchase               11/3/2016           499         28.2303    $14,086.92
Purchase               11/4/2016         1,631         28.2266    $46,037.58
Purchase               11/4/2016           216         28.2627     $6,104.75
Purchase               11/7/2016           434         29.0423    $12,604.36
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APG
FIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                        Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                         25.2292

   Transaction          Date         Shares            Price       Cost                    Transaction   Date   Shares      Price      Proceeds

Purchase               11/7/2016         3,041         29.0290      $88,277.19
Purchase               11/8/2016           660         28.8847      $19,063.90
Purchase               11/8/2016         4,924         28.8761     $142,185.91
Purchase               11/9/2016         1,726         29.9148      $51,632.95
Purchase               11/9/2016        13,713         29.8935     $409,929.57
Purchase              11/10/2016           414         31.1369      $12,890.67
Purchase              11/10/2016         8,183         31.2712     $255,892.23
Purchase              11/11/2016        13,718         32.0968     $440,303.90
Purchase              11/14/2016         6,181         33.4553     $206,787.21
Purchase              11/15/2016           853         33.2536      $28,365.32
Purchase              11/15/2016           228         33.2536       $7,581.82
Purchase              11/16/2016           243         32.7663       $7,962.21
Purchase              11/16/2016           906         32.7663      $29,686.27
Purchase              11/16/2016        12,500         32.7925     $409,906.25
Purchase              11/16/2016        26,878         32.8201     $882,138.65
Purchase              11/17/2016            70         32.7753       $2,294.27
Purchase              11/17/2016           243         32.7753       $7,964.40
Purchase              11/17/2016        46,600         33.1316   $1,543,932.19
Purchase              11/17/2016        23,700         33.1359     $785,320.83
Purchase              11/18/2016        25,200         33.5131     $844,530.12
Purchase              11/18/2016         1,400         33.5271      $46,937.94
Purchase              11/21/2016        13,200         33.5721     $443,151.72
Purchase              11/22/2016         6,400         33.9452     $217,249.28
Purchase              11/23/2016           211         34.2030       $7,216.83
Purchase              11/23/2016        41,200         34.7172   $1,430,350.00
Purchase              11/23/2016         1,300         34.6311      $45,020.43
Purchase              11/28/2016        31,600         34.0507   $1,076,002.12
Purchase              11/28/2016        43,400         34.0571   $1,478,077.36
Purchase              11/28/2016         1,000         34.0879      $34,087.90
Purchase              11/29/2016        79,600         33.9475   $2,702,221.40
Purchase              11/29/2016         5,800         33.9464     $196,889.12
Purchase              11/30/2016         1,400         34.4230      $48,192.20
Purchase               12/6/2016        41,500         35.3964   $1,468,950.31
Purchase               12/7/2016        41,400         35.8916   $1,485,912.24
Purchase               12/8/2016        61,500         36.5507   $2,247,865.28

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APG
FIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                         Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                          25.2292

   Transaction          Date         Shares            Price        Cost                    Transaction   Date   Shares      Price      Proceeds

Purchase               12/8/2016        15,700         36.5523      $573,871.11
Purchase              12/13/2016        57,800         36.0745    $2,085,105.98
Purchase              12/14/2016         4,243         35.8635      $152,168.83
Purchase              12/16/2016         2,100         36.6595       $76,984.95
Purchase              12/19/2016         2,100         36.7738       $77,224.98
Purchase              12/21/2016         6,400         37.0911      $237,383.04
Purchase              12/22/2016         2,100         36.8571       $77,399.91
Purchase              12/29/2016         2,100         36.1564       $75,928.44
Purchase              12/30/2016         2,100         36.2755       $76,178.55
Purchase               1/12/2017           900         35.8067       $32,226.00
Purchase               1/12/2017        57,700         35.9687    $2,075,395.16
Purchase               1/12/2017         4,200         36.1355      $151,769.00
Purchase               1/12/2017         1,500         36.0074       $54,011.10
Purchase               2/16/2017        29,100         37.0824    $1,079,097.75
Purchase               2/16/2017         8,858         37.0582      $328,261.54
Purchase               2/28/2017         5,096         36.2400      $184,679.04
Purchase                3/3/2017       113,116         35.9725    $4,069,065.31
Purchase                3/6/2017       132,790         35.5776    $4,724,349.37
Purchase                3/7/2017        43,224         35.6928    $1,542,785.59
Purchase                4/5/2017         6,944         33.6210      $233,464.22
Purchase                4/7/2017        96,100         33.1318    $3,183,965.98
Purchase               4/10/2017        71,200         33.0792    $2,355,239.04
Purchase               4/11/2017        58,410         32.8491    $1,918,715.87
Purchase               4/12/2017        11,090         32.9502      $365,417.72
Purchase                5/1/2017        43,100         27.8429    $1,200,028.99
Purchase                5/8/2017       247,800         28.4985    $7,061,929.19
Purchase               5/11/2017         1,400         27.0850       $37,919.00
Purchase               5/12/2017         1,400         26.3507       $36,890.98
Purchase               5/17/2017       832,400         26.5156   $22,071,613.42
Purchase                8/3/2017        21,100         30.0369      $633,779.53
Purchase               8/11/2017        33,936         29.1415      $988,945.94
Purchase               8/18/2017        14,903         30.1440      $449,236.03
Purchase               8/31/2017        49,500         30.7900    $1,524,105.00
Purchase              10/10/2017        16,923         31.7713      $537,665.71
Purchase              11/30/2017        58,400         35.8900    $2,095,976.00

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APG
FIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                         Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                          25.2292

   Transaction          Date         Shares            Price        Cost                    Transaction   Date   Shares      Price      Proceeds

Purchase              11/30/2017         9,300         35.8900      $333,777.00
Purchase               12/5/2017        62,200         37.7647    $2,348,964.58
Purchase              12/12/2017        43,100         37.5280    $1,617,457.18
Purchase              12/13/2017         5,200         37.1150      $192,998.07
Purchase              12/14/2017           200         36.9300        $7,386.00
Purchase              12/14/2017           500         37.0910       $18,545.50
Purchase              12/14/2017         1,600         37.1827       $59,492.25
Purchase                1/4/2018       119,000         39.4727    $4,697,251.30
Purchase                1/8/2018        43,500         39.4589    $1,716,464.24
Purchase               1/10/2018           800         39.8400       $31,872.00
Purchase               1/11/2018        25,700         39.3893    $1,012,305.01
Purchase               1/17/2018         8,600         37.9761      $326,594.46
Purchase               1/18/2018        65,600         37.3833    $2,452,345.00
Purchase               1/19/2018        43,300         38.1198    $1,650,589.03
Purchase               1/22/2018        30,208         39.1628    $1,183,031.02
Purchase               1/22/2018       106,223         39.2363    $4,167,796.09
Purchase               1/22/2018        56,187         39.1628    $2,200,442.39
Purchase               1/22/2018       197,571         39.2363    $7,751,952.41
Purchase               1/23/2018       148,281         39.6305    $5,876,443.03
Purchase               1/23/2018       275,797         39.6305   $10,929,959.73
Purchase               1/24/2018       133,902         39.8061    $5,330,118.29
Purchase               1/24/2018       249,053         39.8061    $9,913,832.13
Purchase               1/25/2018        11,678         39.6350      $462,857.53
Purchase               1/25/2018       104,057         39.7072    $4,131,811.75
Purchase               1/25/2018        21,722         39.6350      $860,951.47
Purchase               1/25/2018       193,543         39.7072    $7,685,049.93
Purchase               1/25/2018       109,800         39.6627    $4,354,964.46
Purchase               1/26/2018        72,891         39.9535    $2,912,247.14
Purchase               1/26/2018       135,575         39.9535    $5,416,689.39
Purchase               1/29/2018       143,638         40.3655    $5,798,013.89
Purchase               1/29/2018       267,162         40.3655   $10,784,116.92
Purchase               1/30/2018       142,170         39.8253    $5,661,958.26
Purchase               1/30/2018       264,430         39.8253   $10,530,995.46
Purchase               1/31/2018        73,260         39.9988    $2,930,311.40
Purchase               1/31/2018       136,260         39.9988    $5,450,235.21

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APG
FIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                         Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                          25.2292

   Transaction          Date         Shares            Price        Cost                    Transaction   Date   Shares      Price      Proceeds

Purchase               3/16/2018        41,100         35.2596    $1,449,168.33
Purchase               3/19/2018        78,982         35.2740    $2,786,011.07
Purchase               3/20/2018        48,513         35.4666    $1,720,591.17
Purchase               3/21/2018        22,803         35.4831      $809,121.13
Purchase               3/22/2018        19,981         34.6232      $691,806.16
Purchase               3/27/2018         2,200         33.4600       $73,612.00
Purchase               3/28/2018        40,412         32.8620    $1,328,020.06
Purchase               3/28/2018        53,154         32.9840    $1,753,229.88
Purchase               3/28/2018       203,498         33.1353    $6,742,973.19
Purchase               3/28/2018        70,088         32.8620    $2,303,233.44
Purchase               3/28/2018        92,185         32.9840    $3,040,627.16
Purchase               3/28/2018       352,927         33.1353   $11,694,352.28
Purchase               3/29/2018       116,800         33.5300    $3,916,304.00
Purchase                4/4/2018           100         33.4600        $3,346.00
Purchase                4/4/2018         1,000         33.5215       $33,521.50
Purchase                4/4/2018           300         33.2700        $9,981.00
Purchase               4/10/2018        15,300         34.4100      $526,473.00
Purchase               4/10/2018         5,300         34.4235      $182,444.45
Purchase               4/11/2018        10,400         34.3654      $357,400.50
Purchase               4/26/2018       109,500         33.3413    $3,650,872.35
Purchase                5/8/2018         9,100         32.8300      $298,753.00
Purchase                5/8/2018        49,000         33.1190    $1,622,832.00
Purchase                5/9/2018         7,200         33.2600      $239,472.00
Purchase                5/9/2018         2,300         33.1998       $76,359.50
Purchase               5/15/2018         4,400         33.6500      $148,060.00
Purchase               5/15/2018         4,400         34.3714      $151,234.10
Purchase               5/15/2018         4,500         34.1799      $153,809.41
Purchase               5/15/2018        15,700         34.1842      $536,691.82
Purchase               5/16/2018         5,300         34.5751      $183,248.10
Purchase               5/16/2018        23,300         34.7224      $809,032.70
Purchase               5/22/2018        21,200         36.1524      $766,430.88
Purchase               5/22/2018        29,200         36.1502    $1,055,586.83
Purchase               5/22/2018         2,100         36.1524       $75,920.04
Purchase               5/23/2018        81,700         35.8932    $2,932,472.29
Purchase               6/20/2018        35,400         34.9547    $1,237,397.17

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APG
FIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                        Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                         25.2292

   Transaction          Date         Shares            Price       Cost                    Transaction   Date   Shares      Price      Proceeds

Purchase               6/20/2018        19,500         35.0300     $683,085.00
Purchase               6/26/2018        24,600         33.5639     $825,671.94
Purchase               6/26/2018       126,000         33.5567   $4,228,144.20
Purchase               6/27/2018        25,200         33.3862     $841,332.24
Purchase               6/27/2018       174,753         33.2720   $5,814,381.82
Purchase               6/28/2018        16,600         32.8609     $545,490.94
Purchase               6/28/2018        23,276         32.8504     $764,625.89
Purchase               6/29/2018         8,400         33.6153     $282,368.52
Purchase                7/3/2018           500         33.7574      $16,878.70
Purchase                7/9/2018        35,600         34.8516   $1,240,716.10
Purchase                7/9/2018        35,600         34.3231   $1,221,903.06
Purchase                7/9/2018        47,400         34.7724   $1,648,209.59
Purchase               7/12/2018           500         34.2745      $17,137.25
Purchase               7/13/2018        31,200         32.4240   $1,011,628.80
Purchase               7/16/2018         9,300         32.5966     $303,148.38
Purchase               7/17/2018           900         32.8567      $29,571.03
Purchase               7/18/2018         1,400         33.2461      $46,544.54
Purchase               7/19/2018         1,300         33.2680      $43,248.40
Purchase               7/20/2018         1,300         33.0860      $43,011.80
Purchase               7/23/2018         8,100         32.9700     $267,057.00
Purchase               7/23/2018        37,400         33.4997   $1,252,888.79
Purchase               7/23/2018        79,300         33.3579   $2,645,279.05
Purchase               7/23/2018         1,800         33.3530      $60,035.40
Purchase               7/24/2018         1,200         33.7075      $40,449.00
Purchase               7/27/2018        37,100         29.7443   $1,103,513.53
Purchase               7/30/2018        45,700         29.4851   $1,347,469.07
Purchase               7/31/2018        32,600         29.0077     $945,651.02
Purchase                8/1/2018        14,000         29.2116     $408,962.40
Purchase                8/2/2018        14,600         29.4724     $430,297.04
Purchase                8/3/2018         8,700         29.6030     $257,546.10
Purchase                8/6/2018        19,400         29.7878     $577,883.32
Purchase                8/7/2018         4,800         29.8100     $143,088.00
Purchase                8/7/2018       266,823         30.0099   $8,007,331.41
Purchase                8/7/2018        27,977         30.0309     $840,174.49
Purchase                8/8/2018        13,700         30.1385     $412,897.45

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APG
FIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                                      Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                                       25.2292

   Transaction          Date         Shares            Price         Cost                     Transaction    Date         Shares          Price         Proceeds

Purchase                8/9/2018        15,500         29.9663       $464,477.65
Purchase               8/10/2018         6,000         29.5529       $177,317.40
Purchase               8/13/2018        18,600         29.3144       $545,247.84
Purchase               8/14/2018        46,800         29.8721     $1,398,016.38
Purchase               8/14/2018        10,400         29.5000       $306,800.00
Purchase               8/14/2018         7,590         29.7102       $225,500.30
Purchase               8/14/2018       234,810         29.9344     $7,028,906.86
Purchase               8/14/2018         9,500         29.7770       $282,881.50
Purchase               8/15/2018         1,400         29.7936        $41,711.04
Purchase               8/16/2018         1,300         30.2452        $39,318.76
Purchase               8/17/2018         1,400         30.3671        $42,513.94        Sale                 7/18/2018     (26,322)        32.9910       ($868,389.10)
Purchase               8/20/2018           800         30.8824        $24,705.92        Sale                 7/31/2018    (112,103)        28.9823     ($3,249,002.78)
Purchase               8/21/2018         7,447         31.0600       $231,303.82        Sale                 8/23/2018        (500)        31.4090        ($15,704.50)
Purchase               8/21/2018       101,810         31.2866     $3,185,289.05        Sale                 8/31/2018      (1,400)        31.6700        ($44,338.00)
Purchase               8/21/2018        12,906         31.2692       $403,560.30        Sale                  9/7/2018        (700)        31.8058        ($22,264.06)
Purchase               8/22/2018        28,243         31.4755       $888,961.45        Sale                 9/11/2018        (900)        32.4260        ($29,183.40)
Purchase                9/5/2018         1,400         32.1968        $45,075.50        Sale                 9/13/2018        (700)        32.2868        ($22,600.76)
Purchase               9/26/2018        44,335         32.1567     $1,425,667.57        Sale                 9/20/2018        (200)        33.5749         ($6,714.98)
Purchase               9/26/2018         8,743         32.3749       $283,053.41        Sale                 9/24/2018        (700)        33.0698        ($23,148.86)
Purchase               9/26/2018         1,822         32.5500        $59,306.10        Sale                 9/26/2018        (900)        32.3605        ($29,124.45)
Purchase               10/1/2018         1,200         31.5237        $37,828.44        Sale                 10/2/2018        (500)        31.3363        ($15,668.15)
Purchase               10/2/2018         5,971         31.3690       $187,304.30        Sale                 10/3/2018        (600)        31.8117        ($19,087.02)
Purchase               10/3/2018        12,400         31.6523       $392,488.50        Sale                 10/4/2018      (1,000)        31.5554        ($31,555.40)
Purchase               10/5/2018         6,600         31.4692       $207,696.72        Sale                 10/9/2018      (3,400)        31.1533       ($105,921.22)
Purchase              10/19/2018         1,300         31.0021        $40,302.73        Sale                 10/9/2018     (31,600)        31.1533       ($984,444.28)
Purchase              10/22/2018        32,057         30.6450       $982,385.63        Sale                 10/9/2018     (22,600)        31.1572       ($704,152.02)
Purchase              10/22/2018        21,000         30.8951       $648,796.58        Sale                10/11/2018     (30,300)        30.0037       ($909,112.11)
Purchase              10/22/2018         7,843         31.5100       $247,132.93        Sale                10/11/2018      (5,700)        30.0037       ($171,021.09)
Purchase              10/23/2018         5,203         29.2770       $152,328.23        Sale                10/12/2018        (700)        29.7509        ($20,825.63)
Purchase              10/25/2018           900         28.8144        $25,932.96        Sale                10/22/2018        (700)        30.2454        ($21,171.78)
Purchase              10/31/2018         9,500         28.8800       $274,360.00
Purchase               11/1/2018        11,500         29.1467       $335,187.05        Retained                         (9,193,071)       25.2292   ($231,934,109.74)
                                     9,434,596                   $326,441,820.66                                         (9,434,596)                 ($239,227,539.33)

                                                                                                                                         FIFO Loss    ($87,214,281.33)

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APG
LIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                                          Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                                           25.2292

   Transaction          Date         Shares            Price     Cost                     Transaction           Date          Shares          Price        Proceeds

               Pre-class holdings    4,671,233                                          Sale                     11/4/2016         (423)       28.2479       ($11,948.86)
                                                                                        Sale                     11/4/2016      (77,057)       28.2922    ($2,180,109.28)
                                                                                        Sale                     11/4/2016     (106,143)       28.3111    ($3,005,029.40)
                                                                                        Sale                     11/4/2016     (102,389)       28.2922    ($2,896,806.37)
                                                                                        Sale                     11/4/2016     (141,037)       28.3111    ($3,992,918.33)
                                                                                        Sale                     11/7/2016       (5,113)       29.1100      ($148,839.43)
                                                                                        Sale                     11/7/2016     (158,964)       29.0318    ($4,615,007.42)
                                                                                        Sale                     11/7/2016     (183,776)       29.0256    ($5,334,200.45)
                                                                                        Sale                     11/7/2016      (11,412)       29.1100      ($332,203.32)
                                                                                        Sale                     11/7/2016     (211,222)       29.0318    ($6,132,150.03)
                                                                                        Sale                     11/7/2016     (244,191)       29.0256    ($7,087,779.38)
                                                                                        Sale                     11/8/2016      (92,588)       28.7145    ($2,658,617.33)
                                                                                        Sale                     11/8/2016     (122,841)       28.7791    ($3,535,249.84)
                                                                                        Sale                     11/8/2016     (158,070)       28.7813    ($4,549,456.68)
                                                                                        Sale                     11/8/2016     (130,445)       28.7145    ($3,745,661.84)
                                                                                        Sale                     11/8/2016     (163,223)       28.7791    ($4,697,406.28)
                                                                                        Sale                     11/8/2016     (210,035)       28.7813    ($6,045,075.82)
                                                                               Sales offsetting against pre-class holdings   (2,118,929)                 ($60,968,460.06)

Purchase              10/21/2016         1,076         28.1988    $30,341.91
Purchase              10/21/2016         4,596         28.1204   $129,241.36
Purchase              10/24/2016           644         28.8433    $18,575.08
Purchase              10/24/2016         2,888         28.8419    $83,295.40
Purchase              10/25/2016         4,526         28.5529   $129,230.43
Purchase              10/25/2016         3,014         28.5857    $86,157.30
Purchase              10/25/2016        21,400         28.5898   $611,821.72
Purchase              10/26/2016         1,437         28.6861    $41,221.92
Purchase              10/26/2016         2,012         28.7787    $57,902.75
Purchase              10/26/2016         1,802         28.6730    $51,668.75
Purchase              10/27/2016         4,936         28.9587   $142,940.15
Purchase              10/27/2016         1,186         28.9692    $34,357.47
Purchase              10/28/2016         4,193         29.1729   $122,321.97
Purchase              10/28/2016            35         29.2131     $1,022.46
Purchase              10/31/2016           558         28.9346    $16,145.50
Purchase              10/31/2016         4,145         28.9641   $120,056.20

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APG
LIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                        Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                         25.2292

   Transaction          Date         Shares            Price       Cost                    Transaction   Date   Shares      Price      Proceeds

Purchase               11/1/2016           182         28.6299       $5,210.65
Purchase               11/1/2016         1,783         28.6768      $51,130.74
Purchase               11/2/2016           476         28.5335      $13,581.95
Purchase               11/2/2016            72         28.5493       $2,055.55
Purchase               11/3/2016            70         28.1630       $1,971.41
Purchase               11/3/2016           499         28.2303      $14,086.92
Purchase               11/4/2016         1,631         28.2266      $46,037.58
Purchase               11/4/2016           216         28.2627       $6,104.75
Purchase               11/7/2016           434         29.0423      $12,604.36
Purchase               11/7/2016         3,041         29.0290      $88,277.19
Purchase               11/8/2016           660         28.8847      $19,063.90
Purchase               11/8/2016         4,924         28.8761     $142,185.91
Purchase               11/9/2016         1,726         29.9148      $51,632.95
Purchase               11/9/2016        13,713         29.8935     $409,929.57
Purchase              11/10/2016           414         31.1369      $12,890.67
Purchase              11/10/2016         8,183         31.2712     $255,892.23
Purchase              11/11/2016        13,718         32.0968     $440,303.90
Purchase              11/14/2016         6,181         33.4553     $206,787.21
Purchase              11/15/2016           853         33.2536      $28,365.32
Purchase              11/15/2016           228         33.2536       $7,581.82
Purchase              11/16/2016           243         32.7663       $7,962.21
Purchase              11/16/2016           906         32.7663      $29,686.27
Purchase              11/16/2016        12,500         32.7925     $409,906.25
Purchase              11/16/2016        26,878         32.8201     $882,138.65
Purchase              11/17/2016            70         32.7753       $2,294.27
Purchase              11/17/2016           243         32.7753       $7,964.40
Purchase              11/17/2016        46,600         33.1316   $1,543,932.19
Purchase              11/17/2016        23,700         33.1359     $785,320.83
Purchase              11/18/2016        25,200         33.5131     $844,530.12
Purchase              11/18/2016         1,400         33.5271      $46,937.94
Purchase              11/21/2016        13,200         33.5721     $443,151.72
Purchase              11/22/2016         6,400         33.9452     $217,249.28
Purchase              11/23/2016           211         34.2030       $7,216.83
Purchase              11/23/2016        41,200         34.7172   $1,430,350.00
Purchase              11/23/2016         1,300         34.6311      $45,020.43

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APG
LIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                        Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                         25.2292

   Transaction          Date         Shares            Price       Cost                    Transaction   Date   Shares      Price      Proceeds

Purchase              11/28/2016        31,600         34.0507   $1,076,002.12
Purchase              11/28/2016        43,400         34.0571   $1,478,077.36
Purchase              11/28/2016         1,000         34.0879      $34,087.90
Purchase              11/29/2016        79,600         33.9475   $2,702,221.40
Purchase              11/29/2016         5,800         33.9464     $196,889.12
Purchase              11/30/2016         1,400         34.4230      $48,192.20
Purchase               12/6/2016        41,500         35.3964   $1,468,950.31
Purchase               12/7/2016        41,400         35.8916   $1,485,912.24
Purchase               12/8/2016        61,500         36.5507   $2,247,865.28
Purchase               12/8/2016        15,700         36.5523     $573,871.11
Purchase              12/13/2016        57,800         36.0745   $2,085,105.98
Purchase              12/14/2016         4,243         35.8635     $152,168.83
Purchase              12/16/2016         2,100         36.6595      $76,984.95
Purchase              12/19/2016         2,100         36.7738      $77,224.98
Purchase              12/21/2016         6,400         37.0911     $237,383.04
Purchase              12/22/2016         2,100         36.8571      $77,399.91
Purchase              12/29/2016         2,100         36.1564      $75,928.44
Purchase              12/30/2016         2,100         36.2755      $76,178.55
Purchase               1/12/2017           900         35.8067      $32,226.00
Purchase               1/12/2017        57,700         35.9687   $2,075,395.16
Purchase               1/12/2017         4,200         36.1355     $151,769.00
Purchase               1/12/2017         1,500         36.0074      $54,011.10
Purchase               2/16/2017        29,100         37.0824   $1,079,097.75
Purchase               2/16/2017         8,858         37.0582     $328,261.54
Purchase               2/28/2017         5,096         36.2400     $184,679.04
Purchase                3/3/2017       113,116         35.9725   $4,069,065.31
Purchase                3/6/2017       132,790         35.5776   $4,724,349.37
Purchase                3/7/2017        43,224         35.6928   $1,542,785.59
Purchase                4/5/2017         6,944         33.6210     $233,464.22
Purchase                4/7/2017        96,100         33.1318   $3,183,965.98
Purchase               4/10/2017        71,200         33.0792   $2,355,239.04
Purchase               4/11/2017        58,410         32.8491   $1,918,715.87
Purchase               4/12/2017        11,090         32.9502     $365,417.72
Purchase                5/1/2017        43,100         27.8429   $1,200,028.99
Purchase                5/8/2017       247,800         28.4985   $7,061,929.19

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APG
LIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                                  Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                                   25.2292

   Transaction          Date         Shares            Price        Cost                    Transaction    Date        Shares         Price      Proceeds

Purchase               5/11/2017         1,400         27.0850       $37,919.00
Purchase               5/12/2017         1,400         26.3507       $36,890.98
Purchase               5/17/2017       832,400         26.5156   $22,071,613.42
Purchase                8/3/2017        21,100         30.0369      $633,779.53
Purchase               8/11/2017        33,936         29.1415      $988,945.94
Purchase               8/18/2017        14,903         30.1440      $449,236.03
Purchase               8/31/2017        49,500         30.7900    $1,524,105.00
Purchase              10/10/2017        16,923         31.7713      $537,665.71
Purchase              11/30/2017        58,400         35.8900    $2,095,976.00
Purchase              11/30/2017         9,300         35.8900      $333,777.00
Purchase               12/5/2017        62,200         37.7647    $2,348,964.58
Purchase              12/12/2017        43,100         37.5280    $1,617,457.18
Purchase              12/13/2017         5,200         37.1150      $192,998.07
Purchase              12/14/2017           200         36.9300        $7,386.00
Purchase              12/14/2017           500         37.0910       $18,545.50
Purchase              12/14/2017         1,600         37.1827       $59,492.25
Purchase                1/4/2018       119,000         39.4727    $4,697,251.30
Purchase                1/8/2018        43,500         39.4589    $1,716,464.24
Purchase               1/10/2018           800         39.8400       $31,872.00
Purchase               1/11/2018        25,700         39.3893    $1,012,305.01
Purchase               1/17/2018         8,600         37.9761      $326,594.46
Purchase               1/18/2018        65,600         37.3833    $2,452,345.00
Purchase               1/19/2018        43,300         38.1198    $1,650,589.03
Purchase               1/22/2018        30,208         39.1628    $1,183,031.02
Purchase               1/22/2018       106,223         39.2363    $4,167,796.09
Purchase               1/22/2018        56,187         39.1628    $2,200,442.39        Sale               10/28/2016    (21,400)       29.0957   ($622,647.98)
Purchase               1/22/2018       197,571         39.2363    $7,751,952.41        Sale                11/3/2016    (21,200)       28.1714   ($597,233.68)
Purchase               1/23/2018       148,281         39.6305    $5,876,443.03        Sale                11/4/2016    (20,777)       28.2479   ($586,906.62)
Purchase               1/23/2018       275,797         39.6305   $10,929,959.73        Sale                11/7/2016     (3,475)       29.1100   ($101,157.25)
Purchase               1/24/2018       133,902         39.8061    $5,330,118.29        Sale                11/8/2016     (5,584)       28.7145   ($160,341.72)
Purchase               1/24/2018       249,053         39.8061    $9,913,832.13        Sale               11/11/2016     (1,400)       32.1650    ($45,031.00)
Purchase               1/25/2018        11,678         39.6350      $462,857.53        Sale               11/14/2016     (1,400)       33.5141    ($46,919.74)
Purchase               1/25/2018       104,057         39.7072    $4,131,811.75        Sale                12/2/2016       (700)       34.5975    ($24,218.25)
Purchase               1/25/2018        21,722         39.6350      $860,951.47        Sale                12/6/2016    (12,979)       35.1942   ($456,785.69)
Purchase               1/25/2018       193,543         39.7072    $7,685,049.93        Sale                12/6/2016    (25,600)       35.2331   ($901,968.00)

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APG
LIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                                 Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                                  25.2292

   Transaction          Date         Shares            Price        Cost                    Transaction   Date        Shares         Price       Proceeds

Purchase               1/25/2018       109,800         39.6627    $4,354,964.46        Sale               12/6/2016    (37,600)       35.1048   ($1,319,939.84)
Purchase               1/26/2018        72,891         39.9535    $2,912,247.14        Sale               1/27/2017     (1,400)       36.5583      ($51,181.62)
Purchase               1/26/2018       135,575         39.9535    $5,416,689.39        Sale               1/30/2017    (32,300)       36.3402   ($1,173,788.40)
Purchase               1/29/2018       143,638         40.3655    $5,798,013.89        Sale               1/30/2017     (1,400)       36.3364      ($50,870.96)
Purchase               1/29/2018       267,162         40.3655   $10,784,116.92        Sale               1/31/2017    (13,900)       35.8892     ($498,859.88)
Purchase               1/30/2018       142,170         39.8253    $5,661,958.26        Sale                2/1/2017     (2,100)       36.1552      ($75,925.92)
Purchase               1/30/2018       264,430         39.8253   $10,530,995.46        Sale                2/2/2017     (2,100)       35.4538      ($74,452.98)
Purchase               1/31/2018        73,260         39.9988    $2,930,311.40        Sale                2/3/2017    (29,800)       36.3994   ($1,084,702.12)
Purchase               1/31/2018       136,260         39.9988    $5,450,235.21        Sale                2/3/2017     (7,400)       36.4171     ($269,486.43)
Purchase               3/16/2018        41,100         35.2596    $1,449,168.33        Sale                2/3/2017     (2,100)       36.3970      ($76,433.70)
Purchase               3/19/2018        78,982         35.2740    $2,786,011.07        Sale                2/6/2017    (39,400)       36.4108   ($1,434,583.75)
Purchase               3/20/2018        48,513         35.4666    $1,720,591.17        Sale                2/6/2017     (6,500)       36.4144     ($236,693.60)
Purchase               3/21/2018        22,803         35.4831      $809,121.13        Sale                2/7/2017     (1,400)       36.2446      ($50,742.44)
Purchase               3/22/2018        19,981         34.6232      $691,806.16        Sale                2/8/2017     (1,400)       35.5934      ($49,830.76)
Purchase               3/27/2018         2,200         33.4600       $73,612.00        Sale                2/9/2017     (1,400)       36.3261      ($50,856.54)
Purchase               3/28/2018        40,412         32.8620    $1,328,020.06        Sale               2/10/2017     (1,400)       36.3925      ($50,949.50)
Purchase               3/28/2018        53,154         32.9840    $1,753,229.88        Sale               2/15/2017     (2,000)       37.3251      ($74,650.20)
Purchase               3/28/2018       203,498         33.1353    $6,742,973.19        Sale               2/16/2017     (2,000)       36.8535      ($73,707.00)
Purchase               3/28/2018        70,088         32.8620    $2,303,233.44        Sale               2/17/2017     (2,000)       36.4767      ($72,953.40)
Purchase               3/28/2018        92,185         32.9840    $3,040,627.16        Sale               2/23/2017     (2,000)       36.5620      ($73,124.00)
Purchase               3/28/2018       352,927         33.1353   $11,694,352.28        Sale               2/24/2017     (2,000)       36.3030      ($72,606.00)
Purchase               3/29/2018       116,800         33.5300    $3,916,304.00        Sale               2/27/2017     (2,000)       36.6234      ($73,246.80)
Purchase                4/4/2018           100         33.4600        $3,346.00        Sale               2/28/2017    (18,900)       36.2400     ($684,936.00)
Purchase                4/4/2018         1,000         33.5215       $33,521.50        Sale                3/1/2017     (2,000)       36.9495      ($73,899.00)
Purchase                4/4/2018           300         33.2700        $9,981.00        Sale                3/8/2017     (2,000)       35.8461      ($71,692.20)
Purchase               4/10/2018        15,300         34.4100      $526,473.00        Sale               3/15/2017     (8,300)       35.8756     ($297,767.48)
Purchase               4/10/2018         5,300         34.4235      $182,444.45        Sale               3/16/2017     (1,900)       35.8513      ($68,117.47)
Purchase               4/11/2018        10,400         34.3654      $357,400.50        Sale               3/17/2017     (8,500)       35.2606     ($299,715.10)
Purchase               4/26/2018       109,500         33.3413    $3,650,872.35        Sale               3/20/2017     (8,500)       34.5442     ($293,625.70)
Purchase                5/8/2018         9,100         32.8300      $298,753.00        Sale               3/21/2017     (1,300)       33.4184      ($43,443.92)
Purchase                5/8/2018        49,000         33.1190    $1,622,832.00        Sale               3/22/2017    (17,400)       33.1413     ($576,658.62)
Purchase                5/9/2018         7,200         33.2600      $239,472.00        Sale               3/23/2017    (17,400)       33.4993     ($582,887.82)
Purchase                5/9/2018         2,300         33.1998       $76,359.50        Sale               3/24/2017     (4,200)       33.4011     ($140,284.62)
Purchase               5/15/2018         4,400         33.6500      $148,060.00        Sale               3/28/2017    (41,700)       33.5390   ($1,398,576.30)
Purchase               5/15/2018         4,400         34.3714      $151,234.10        Sale               3/30/2017    (34,100)       34.3376   ($1,170,910.73)

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APG
LIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                                Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                                 25.2292

   Transaction          Date         Shares            Price       Cost                    Transaction   Date        Shares         Price       Proceeds

Purchase               5/15/2018         4,500         34.1799     $153,809.41        Sale                4/3/2017    (38,900)       33.7396   ($1,312,468.61)
Purchase               5/15/2018        15,700         34.1842     $536,691.82        Sale               4/13/2017     (6,944)       32.6111     ($226,451.40)
Purchase               5/16/2018         5,300         34.5751     $183,248.10        Sale               4/17/2017    (38,400)       32.7360   ($1,257,062.40)
Purchase               5/16/2018        23,300         34.7224     $809,032.70        Sale               4/17/2017    (12,000)       32.7453     ($392,943.17)
Purchase               5/22/2018        21,200         36.1524     $766,430.88        Sale               4/21/2017    (55,600)       33.4768   ($1,861,308.25)
Purchase               5/22/2018        29,200         36.1502   $1,055,586.83        Sale               4/24/2017    (46,200)       33.8821   ($1,565,352.47)
Purchase               5/22/2018         2,100         36.1524      $75,920.04        Sale               4/25/2017    (48,100)       33.8855   ($1,629,891.59)
Purchase               5/23/2018        81,700         35.8932   $2,932,472.29        Sale               4/26/2017    (47,900)       33.3523   ($1,597,575.70)
Purchase               6/20/2018        35,400         34.9547   $1,237,397.17        Sale                5/2/2017    (36,500)       28.3992   ($1,036,569.08)
Purchase               6/20/2018        19,500         35.0300     $683,085.00        Sale                5/2/2017     (6,400)       28.4144     ($181,852.16)
Purchase               6/26/2018        24,600         33.5639     $825,671.94        Sale                5/3/2017     (9,200)       28.7517     ($264,515.64)
Purchase               6/26/2018       126,000         33.5567   $4,228,144.20        Sale                5/4/2017     (1,400)       28.6936      ($40,171.04)
Purchase               6/27/2018        25,200         33.3862     $841,332.24        Sale                5/5/2017     (1,400)       28.7021      ($40,182.94)
Purchase               6/27/2018       174,753         33.2720   $5,814,381.82        Sale                5/8/2017     (1,400)       28.4782      ($39,869.48)
Purchase               6/28/2018        16,600         32.8609     $545,490.94        Sale               5/17/2017     (1,600)       26.4919      ($42,387.04)
Purchase               6/28/2018        23,276         32.8504     $764,625.89        Sale               5/18/2017     (1,600)       26.6000      ($42,560.00)
Purchase               6/29/2018         8,400         33.6153     $282,368.52        Sale               5/19/2017     (1,600)       27.0744      ($43,319.04)
Purchase                7/3/2018           500         33.7574      $16,878.70        Sale               5/24/2017     (8,000)       26.8481     ($214,784.80)
Purchase                7/9/2018        35,600         34.8516   $1,240,716.10        Sale               5/24/2017    (45,075)       26.8434   ($1,209,966.26)
Purchase                7/9/2018        35,600         34.3231   $1,221,903.06        Sale               5/25/2017     (1,600)       27.0088      ($43,214.08)
Purchase                7/9/2018        47,400         34.7724   $1,648,209.59        Sale               5/26/2017     (1,600)       27.4100      ($43,856.00)
Purchase               7/12/2018           500         34.2745      $17,137.25        Sale               5/30/2017     (1,600)       27.1141      ($43,382.56)
Purchase               7/13/2018        31,200         32.4240   $1,011,628.80        Sale               5/31/2017    (38,800)       26.6055   ($1,032,293.40)
Purchase               7/16/2018         9,300         32.5966     $303,148.38        Sale                6/1/2017     (1,600)       27.1713      ($43,474.08)
Purchase               7/17/2018           900         32.8567      $29,571.03        Sale                6/1/2017   (330,830)       27.2066   ($9,000,759.48)
Purchase               7/18/2018         1,400         33.2461      $46,544.54        Sale                6/5/2017     (1,600)       27.7166      ($44,346.56)
Purchase               7/19/2018         1,300         33.2680      $43,248.40        Sale                6/6/2017     (1,600)       27.9744      ($44,759.04)
Purchase               7/20/2018         1,300         33.0860      $43,011.80        Sale                6/7/2017     (3,700)       28.8541     ($106,760.17)
Purchase               7/23/2018         8,100         32.9700     $267,057.00        Sale                6/7/2017    (19,313)       28.8589     ($557,351.94)
Purchase               7/23/2018        37,400         33.4997   $1,252,888.79        Sale                6/8/2017     (9,387)       28.9499     ($271,752.70)
Purchase               7/23/2018        79,300         33.3579   $2,645,279.05        Sale               6/19/2017   (169,300)       29.3418   ($4,967,566.74)
Purchase               7/23/2018         1,800         33.3530      $60,035.40        Sale                7/6/2017    (25,700)       29.5183     ($758,621.44)
Purchase               7/24/2018         1,200         33.7075      $40,449.00        Sale                7/6/2017    (25,700)       29.3689     ($754,780.93)
Purchase               7/27/2018        37,100         29.7443   $1,103,513.53        Sale               7/18/2017    (31,400)       29.3087     ($920,294.15)
Purchase               7/30/2018        45,700         29.4851   $1,347,469.07        Sale               7/18/2017    (15,700)       29.2957     ($459,942.16)

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APG
LIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                                 Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                                  25.2292

   Transaction          Date         Shares            Price       Cost                    Transaction    Date        Shares         Price        Proceeds

Purchase               7/31/2018        32,600         29.0077     $945,651.02        Sale                7/19/2017    (15,700)       29.5268      ($463,571.03)
Purchase                8/1/2018        14,000         29.2116     $408,962.40        Sale                8/31/2017     (4,903)       30.7730      ($150,879.96)
Purchase                8/2/2018        14,600         29.4724     $430,297.04        Sale                 9/6/2017    (22,095)       30.0693      ($664,381.29)
Purchase                8/3/2018         8,700         29.6030     $257,546.10        Sale                 9/7/2017    (21,841)       29.1773      ($637,261.97)
Purchase                8/6/2018        19,400         29.7878     $577,883.32        Sale               10/10/2017    (21,800)       31.7938      ($693,104.77)
Purchase                8/7/2018         4,800         29.8100     $143,088.00        Sale               10/26/2017    (16,923)       32.8431      ($555,804.47)
Purchase                8/7/2018       266,823         30.0099   $8,007,331.41        Sale               10/31/2017    (11,600)       32.6200      ($378,392.00)
Purchase                8/7/2018        27,977         30.0309     $840,174.49        Sale                1/11/2018    (43,500)       39.5597    ($1,720,846.95)
Purchase                8/8/2018        13,700         30.1385     $412,897.45        Sale                1/22/2018    (56,300)       39.1364    ($2,203,380.11)
Purchase                8/9/2018        15,500         29.9663     $464,477.65        Sale                1/24/2018    (52,600)       39.7692    ($2,091,860.76)
Purchase               8/10/2018         6,000         29.5529     $177,317.40        Sale                1/31/2018   (330,100)       39.7045   ($13,106,457.04)
Purchase               8/13/2018        18,600         29.3144     $545,247.84        Sale                2/27/2018    (62,300)       37.8529    ($2,358,238.50)
Purchase               8/14/2018        46,800         29.8721   $1,398,016.38        Sale                2/27/2018     (4,300)       37.3900      ($160,777.00)
Purchase               8/14/2018        10,400         29.5000     $306,800.00        Sale                4/19/2018   (125,800)       35.2721    ($4,437,230.18)
Purchase               8/14/2018         7,590         29.7102     $225,500.30        Sale                4/24/2018    (31,100)       34.9455    ($1,086,805.05)
Purchase               8/14/2018       234,810         29.9344   $7,028,906.86        Sale                5/10/2018    (27,200)       33.8540      ($920,828.80)
Purchase               8/14/2018         9,500         29.7770     $282,881.50        Sale                5/15/2018    (18,800)       34.2887      ($644,627.56)
Purchase               8/15/2018         1,400         29.7936      $41,711.04        Sale                5/31/2018    (88,800)       34.6300    ($3,075,144.00)
Purchase               8/16/2018         1,300         30.2452      $39,318.76        Sale                6/20/2018     (5,800)       34.9397      ($202,650.26)
Purchase               8/17/2018         1,400         30.3671      $42,513.94        Sale                7/18/2018    (55,200)       32.9910    ($1,821,103.20)
Purchase               8/20/2018           800         30.8824      $24,705.92        Sale                7/31/2018   (112,103)       28.9823    ($3,249,002.78)
Purchase               8/21/2018         7,447         31.0600     $231,303.82        Sale                8/23/2018       (500)       31.4090       ($15,704.50)
Purchase               8/21/2018       101,810         31.2866   $3,185,289.05        Sale                8/31/2018     (1,400)       31.6700       ($44,338.00)
Purchase               8/21/2018        12,906         31.2692     $403,560.30        Sale                 9/7/2018       (700)       31.8058       ($22,264.06)
Purchase               8/22/2018        28,243         31.4755     $888,961.45        Sale                9/11/2018       (900)       32.4260       ($29,183.40)
Purchase                9/5/2018         1,400         32.1968      $45,075.50        Sale                9/13/2018       (700)       32.2868       ($22,600.76)
Purchase               9/26/2018        44,335         32.1567   $1,425,667.57        Sale                9/20/2018       (200)       33.5749        ($6,714.98)
Purchase               9/26/2018         8,743         32.3749     $283,053.41        Sale                9/24/2018       (700)       33.0698       ($23,148.86)
Purchase               9/26/2018         1,822         32.5500      $59,306.10        Sale                9/26/2018       (900)       32.3605       ($29,124.45)
Purchase               10/1/2018         1,200         31.5237      $37,828.44        Sale                10/2/2018       (500)       31.3363       ($15,668.15)
Purchase               10/2/2018         5,971         31.3690     $187,304.30        Sale                10/3/2018       (600)       31.8117       ($19,087.02)
Purchase               10/3/2018        12,400         31.6523     $392,488.50        Sale                10/4/2018     (1,000)       31.5554       ($31,555.40)
Purchase               10/5/2018         6,600         31.4692     $207,696.72        Sale                10/9/2018     (3,400)       31.1533      ($105,921.22)
Purchase              10/19/2018         1,300         31.0021      $40,302.73        Sale                10/9/2018    (31,600)       31.1533      ($984,444.28)
Purchase              10/22/2018        32,057         30.6450     $982,385.63        Sale                10/9/2018    (22,600)       31.1572      ($704,152.02)

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APG
LIFO Loss in Synchrony Financial
Class period: 10/21/16 - 11/01/18
CUSIP # 87165B103                                                                                                                     Hold price
Retained share price: $25.2292 (11/02/18 - 12/31/18)                                                                                      25.2292

   Transaction          Date         Shares            Price         Cost                    Transaction    Date         Shares          Price         Proceeds

Purchase              10/22/2018        21,000         30.8951       $648,796.58        Sale               10/11/2018     (30,300)        30.0037       ($909,112.11)
Purchase              10/22/2018         7,843         31.5100       $247,132.93        Sale               10/11/2018      (5,700)        30.0037       ($171,021.09)
Purchase              10/23/2018         5,203         29.2770       $152,328.23        Sale               10/12/2018        (700)        29.7509        ($20,825.63)
Purchase              10/25/2018           900         28.8144        $25,932.96        Sale               10/22/2018        (700)        30.2454        ($21,171.78)
Purchase              10/31/2018         9,500         28.8800       $274,360.00
Purchase               11/1/2018        11,500         29.1467       $335,187.05        Retained                        (6,640,767)       25.2292   ($167,541,443.13)
                                     9,434,596                   $326,441,820.66                                        (9,434,596)                 ($259,667,525.72)

                                                                                                                                       LIFO Loss     ($66,774,294.94)




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